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     BRANDON ROBERTS
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S-12-49 TLN
12
                               Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     BRANDON ROBERTS,                                    RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable TROY L. NUNLEY

17             Defendant, BRANDON ROBERTS, by and through his attorney, Assistant Federal
18   Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through
19   its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On July 31, 2014, this Court sentenced Mr. Roberts to a term of 37 months

25   imprisonment;

26             3.         Mr. Roberts’ total offense level was 13, his criminal history category was V, and

27   the resulting guideline range was 37 months;

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     Stipulation and Order Re: Sentence Reduction          1
      Case 2:12-cr-00049-WBS Document 119 Filed 09/17/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Roberts was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         After application of amendment 782, Mr. Roberts’ total offense level has been
5    reduced from 13 to 12, and his amended guideline range is 27 to 33 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Roberts’ term of imprisonment to 33 months.
8    Respectfully submitted,
9    Dated: September 16, 2015                          Dated: September 16, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt_                                   /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           BRANDON ROBERTS
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     Stipulation and Order Re: Sentence Reduction          2
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                                                     ORDER
1
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Roberts is entitled to the benefit
5    Amendment 782, which reduces the applicable guideline range to 27 to 33 months.
6              IT IS HEREBY ORDERED that the term of imprisonment imposed in July 2014 is
7    reduced to a term of 33 months.
8              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
9    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
10   reduction in sentence, and shall serve certified copies of the amended judgment on the United
11   States Bureau of Prisons and the United States Probation Office.
12             Unless otherwise ordered, Mr. Roberts shall report to the United States Probation Office
13   within seventy-two hours after his release.
14   Dated: September 16, 2015
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17                                                                     Troy L. Nunley
                                                                       United States District Judge
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     Stipulation and Order Re: Sentence Reduction        3
